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14
                         CENTRAL DISTRICT OF CALIFORNIA
15
                                   SOUTHERN DIVISION
16
     MARIA D. HERNANDEZ,                       No. 8:23-cv-02357-PVC
17
18               Plaintiff,
                                               JUDGMENT OF REMAND
19         vs.
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     MARTIN O’MALLEY,
21   Commissioner of Social Security,
22
                 Defendant.
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     Case 8:23-cv-02357-PVC Document 18 Filed 06/14/24 Page 2 of 2 Page ID #:3645




 1         The Court having approved the parties’ Stipulation to Voluntary Remand
 2   Pursuant to Sentence 4 of 42 U.S.C. § 405(g) and to Entry of Judgment

 3   (“Stipulation of Remand”) lodged concurrent with the lodging of the within
     Judgment of Remand.
 4
           IT IS HEREBY ORDERED, ADJUDGED AND DECREED that the above-
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     captioned action is remanded to the Commissioner of Social Security for further
 6
     proceedings consistent with the Stipulation of Remand.
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 8
 9   DATED:      -XQH
                                          HON. PEDRO V. CASTILLO
10                                        UNITED STATES MAGISTRATE JUDGE
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